        Case 1:14-cv-00140-TSC Document 128 Filed 02/26/20 Page 1 of 14




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 MELVIN BROWN,

                 Plaintiff,

         v.                                               Case No. 1:14-cv-0140 (TSC)

 SANDRA HILL, et al.,

                 Defendants.


DEFENDANT AMELIA VILLARUZ’S MOTION TO DISMISS PLAINTIFF’S FOURTH
                     AMENDED COMPLAINT

        Defendant Amelia Villaruz moves for dismissal of Plaintiff Melvin Brown’s Fourth

Amended Complaint for failure to state a claim upon which relief can be granted. See Fed. R.

Civ. P. 12(b)(6). Dismissal is appropriate for three reasons: (1) the claims against Dr. Villaruz

are barred by the statute of limitations; and (2) Plaintiff fails to state a claim against Dr. Villaruz

for substantive due process violations or negligent infliction of emotional distress, and (3) Dr.

Villaruz is entitled to qualified immunity on Plaintiff’s claim of substantive due process

violations. Dr. Villaruz provides more detailed support for this Motion in the attached

memorandum of points and authorities. A proposed order is also attached.

 February 26, 2020                                  Respectfully submitted

                                                    KARL A. RACINE
                                                    Attorney General for the District of Columbia

                                                    CHAD COPELAND
                                                    Deputy Attorney General
                                                    Civil Litigation Division

                                                    /s/ Michael K. Addo
                                                    MICHAEL K. ADDO [1008971]
                                                    Chief, Civil Litigation Division Section IV
Case 1:14-cv-00140-TSC Document 128 Filed 02/26/20 Page 2 of 14




                               /s/ Philip A. Medley
                               PHILIP A. MEDLEY [1010307]
                               Assistant Attorney General
                               441 Fourth Street, N.W., Suite 630 South
                               Washington, D.C. 20001
                               (202) 724-6626
                               (202) 741-5920 (fax)
                               philip.medley@dc.gov

                               Counsel for Defendants David Walker and
                               Amelia Villaruz




                               2
        Case 1:14-cv-00140-TSC Document 128 Filed 02/26/20 Page 3 of 14




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 MELVIN BROWN,

                 Plaintiff,

         v.                                              Case No. 1:14-cv-0140 (TSC)

 SANDRA HILL, et al.,

                 Defendants.


      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
DEFENDANT AMELIA VILLARUZ’S MOTION TO DISMISS PLAINTIFF’S FOURTH
                     AMENDED COMPLAINT

                                        INTRODUCTION

       Plaintiff Melvin Brown brings the present Amended Complaint—his fourth here—

against Green Door, Inc., as well as various individuals allegedly employed by Green Door, Inc.,

the District of Columbia, and So Others May Eat (“SOME”). Plaintiff alleges 18 separate

counts, but only four of them are being asserted against Defendant Amelia Villaruz: “Denial of

Due Process of Law-Substantive Due Process Liberty Interest Against Amelia Villaruz-

Involuntary Commitment 42 USC Sect. 1983” (Count II); “Denial of Due Process of Law-

Forcible Medication, 42 USC Sect. 1983-Amelia Villaruz” (Count III); Negligent Infliction of

Emotional Distress (NIED) (Count VI), and Medical Malpractice (Count XIII).

       The Court should dismiss all claims against Dr. Villaruz. First, the claims are barred by

the statute of limitations. Second, Plaintiff failed to state a claim against Dr. Villaruz for

substantive due process violations and NIED. Finally, Dr. Villaruz is entitled to qualified

immunity on Plaintiff’s claim of substantive due process violations.
        Case 1:14-cv-00140-TSC Document 128 Filed 02/26/20 Page 4 of 14




                    ALLEGATIONS PERTAINING TO DR. VILLARUZ

       Plaintiff’s Fourth Amended Complaint alleges an elaborate scheme by the various

Defendants to have him involuntarily committed. Plaintiff’s allegations against Dr. Villaruz are

in Paragraphs 36-38, and 41 of the Fourth Amended Complaint, and the gist of the allegations is

that Dr. Villaruz conducted an inadequate evaluation of Plaintiff, resulting in improper

recommendations. See 4th Am. Compl. at ¶¶ 36-38, and 41 [ECF No. 99 at 10-12]. Plaintiff

alleges that on or about January 13, 2011 he was handcuffed and taken to the Comprehensive

Psychiatric Emergency Program (CPEP), where he was evaluated by Dr. Villaruz. Id. at ¶¶ 35-

36 [99 at 9-10]. Plaintiff claims that Dr. Villaruz’s evaluation “did not include those elements

that meet a standard of care that are part of an assessment of a patient.” Id. at ¶ 36 [99 at 10].

Plaintiff also alleges that “Dr. Villaruz’s evaluation did not include a clinical interview or testing

that would include Cognitive or Wechsler Adult Intelligence Scale IV, memory, personality,

Minnesota Multiphasic Inventory 2F or any other evaluative tools.” Id. at ¶ 37 [99 at 10].

Plaintiff claims that Dr. Villaruz “relied on the FD 12 and did not make an adequate independent

and personal assessment of Plaintiff for an involuntary commitment.” Id. Plaintiff alleges that

on or about January 14, 2011, Plaintiff refused to take medication, and Dr. Villaruz forced

medication upon Plaintiff. Id. at ¶ 38 [99 at 11]. Plaintiff claims that “Dr. Villaruz ordered

further hospitalization [of Plaintiff] when there was no need.” Id. at ¶ 41 [99 at 11].

                                       LEGAL STANDARD

       To survive a motion to dismiss, a plaintiff’s “[f]actual allegations must be enough to raise

a right to relief above the speculative level, on the assumption that all the allegations in the

complaint are true (even if doubtful in fact).” Bell Atl. Corp. v. Twombly, 550 U.S. 554, 555

(2007). The Supreme Court has set forth a “two-pronged approach” that a trial court should use



                                                  2
          Case 1:14-cv-00140-TSC Document 128 Filed 02/26/20 Page 5 of 14




when ruling on a motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(6). Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009). While a trial court generally must consider a plaintiff’s factual allegations

as true, the court should first “identify pleadings that, because they are no more than conclusions,

are not entitled to the assumption of truth. While legal conclusions can provide the framework

of a complaint, they must be supported by factual allegations.” Id. Thus, the basic pleading

standards “demand more than an unadorned, the-defendant-unlawfully-harmed-me accusation.”

Id. (citing Twombly, 550 U.S. at 555).

          Once the court has determined that the plaintiff has asserted “well-pleaded factual

allegations,” it “should assume their veracity and then determine whether they plausibly give rise

to an entitlement to relief.” Id. The Court defined “plausible” as follows:

                 A claim has facial plausibility when the plaintiff pleads factual
                 content that allows the court to draw the reasonable inference that
                 the defendant is liable for the misconduct alleged. The plausibility
                 standard is not akin to a “probability requirement,” but it asks for
                 more than a sheer possibility that a defendant has acted unlawfully.
                 Where a complaint pleads facts that are merely consistent with a
                 defendant’s liability, it stops short of the line between possibility
                 and plausibility of entitlement to relief.

Id; see also Atherton v. District of Columbia, 567 F.3d 672, 681 (D.C. Cir. 2009) (quoting

passage with approval). In other words, a plaintiff’s factual allegations must allow a court to

draw a reasonable inference that the defendant is liable for the misconduct alleged, if the factual

allegations are proven true. See Matrixx Industries, Inc. v. Siracusano, 563 U.AS. 27, 45-46

(2011).

                                             ARGUMENT

I.   Plaintiff’s Claims Against Dr. Villaruz are Barred by the Statute of Limitations.

          All of Plaintiff’s claims against Dr. Walker are barred by the statute of limitations.

Under the D.C. Code, claims for NIED and negligence-based medical malpractice must be


                                                    3
        Case 1:14-cv-00140-TSC Document 128 Filed 02/26/20 Page 6 of 14




brought within three years after the accrual of the claim. D.C. Code § 12-301(8); Hawkins v.

Greenfield, 797 F.Supp. 30, 34 (D.D.C. 1992) (acknowledging three-year statute of limitations

for NIED claims); Canterbury v. Spence, 464 F.2d 772, 793 (acknowledging three-year statute of

limitations for negligence-based medical malpractice claims). Additionally, claims of civil rights

violations brought pursuant to 42 U.S.C. § 1983 must be brought within three years after the

accrual of the claim. See Proctor v. District of Columbia, 74 F.Supp.3d 436, 457 (D.D.C. 2014).

       In his original Complaint, docketed on January 30, 2014 but file-stamped by the Clerk of

the Court on December 11, 2013, Plaintiff alleges a “conspiracy” orchestrated by Defendant

Suzanne Bond and involving the original eleven named Defendants as well as “people

(employees) of the DMH (Dept of Mental Health)[.]” Compl. [1 at 2]. Plaintiff also alleges that

he was taken against his will to CPEP for two days and to the Psychiatric Institute of Washington

(PIW) for another two days. Id. [1 at 4]. Plaintiff claims that he was released from PIW after he

“called an attorney, Ms. Sylvia Naguib” and “ask[ed] her to take [Plaintiff] in front of a judge to

determine [Plaintiff’s] competence (probable cause hearing).” Id. Plaintiff further alleges that

“the psych doctor refused to go to open court and discharged [Plaintiff] (during the same hour)

having been deprived of [Plaintiff’s] liberty, saying nothing og the embarrassment and

humiliation.” Id. Despite having this information, Plaintiff chose not to sue Dr. Villaruz, the

Department of Mental Health, or the District of Columbia in his original Complaint. Plaintiff

first named Dr. Villaruz as a defendant in his First Amended Complaint, which was filed on

November 21, 2014.

       The statute of limitations for all of Plaintiff’s claims against Dr. Villaruz expired on or

about January 14, 2014—three years after Dr. Villaruz evaluated him. Plaintiff did not allege




                                                 4
        Case 1:14-cv-00140-TSC Document 128 Filed 02/26/20 Page 7 of 14




any claims against Dr. Villaruz until November 21, 2014, well past the expiration of the statute

of limitations for his claims.

       In an apparent attempt to cure this statute of limitations issue, Plaintiff claims that on July

3, 2014 he filed a lawsuit in the Superior Court “to obtain his records pertaining to his stay at

SOME and subsequent confinement at CPEP and the Psychiatric Institute of Washington.” 4th

Am. Compl. at ¶ 21 [99 at 3]. Plaintiff also alleges that on August 3, 2014 he “obtained the

records that were the subject of his D.C. Superior Court lawsuit, providing Plaintiff the

information and notice of these causes of action.” Id. While Plaintiff does not specifically say

so, he appears to suggest that pursuant to the discovery rule, his causes of action against Dr.

Villaruz did not accrue until he acquired documentation regarding his time in CPEP on August 3,

2014. Assuming this is Plaintiff’s argument, he misapplies the discovery rule.

       “As a general rule, ‘[w]here the fact of an injury can be readily determined, a claim

accrues for purposes of the statute of limitations at the time the injury actually occurs.’” C.B.

Harris & Co., Inc. v. Wells Fargo & Co., 113 F.Supp.3d 166, 170 (D.D.C. 2015) (quoting

Colbert v. Georgetown Univ., 641 A.2d 469, 472 (D.C. 1994)). Courts utilize the discovery rule

in situations “[w]here the injury is not apparent or the relationship between the injury and the

tortious conduct is obscure[.]” Id. “The discovery rule provides that a cause of action accrues

when the plaintiff has either actual notice of her cause of action, or is deemed to be on inquiry

notice.” Id. (emphasis added). “[I]nquiry notice will be charged to a plaintiff when he is aware

of an injury, its cause, and some evidence of wrongdoing.” Gardel v. A Structural Eng’rs PLLC,

286 F.Supp.3d 120, 126 (D.D.C. 2017) (quoting Cevenini v. Archbishop of Wash., 707 A.2d 768,

771 (D.C. 1998)). “A court can deem a plaintiff to be on inquiry notice ‘even if [the plaintiff] is

not actually aware of each essential element of his cause of action.’” Id. (quoting Cevenini, 707



                                                  5
        Case 1:14-cv-00140-TSC Document 128 Filed 02/26/20 Page 8 of 14




A.2d at 771). “Further, when multiple defendants may be responsible for a plaintiff's injuries,

the cause of action will accrue as to all defendants if a ‘reasonable plaintiff with knowledge of

the misconduct of one [defendant] would have conducted an investigation as to the other,’ and

‘that investigation would, as a matter of law, have revealed some evidence of wrongdoing on the

part of the other defendant.’” Id. (quoting Diamond v. Davis, 680 A.2d 364, 380 (D.C. 1996)).

       In Gardel, the plaintiff injured himself after leaning on a chain connected to two bollards,

one of which was not securely fastened to the ground. Id. at 126. The loose bollard fell on

plaintiff’s leg, fracturing his tibia. Id. The court found that the plaintiff’s cause of action

accrued at the moment he suffered his injury because even though he did not know the specific

identity of the responsible party, “he was on notice that someone had failed to secure [the

bollard] properly, or at least, that someone had failed to maintain it properly.” Id. at 127

(emphasis added). In this case, Dr. Villaruz evaluated Plaintiff on or about January 13, 2011 and

January 14, 2011, and Plaintiff was then remitted to PIW. Plaintiff admitted in his original

Complaint that days after he was evaluated by Dr. Villaruz, he contacted an attorney to seek a

probable cause hearing associated with his hospitalization. Therefore, his causes of action

against Dr. Villaruz accrued no later than January 14, 2011 or shortly thereafter because

Plaintiff—by his own admission—had “some evidence of wrongdoing.” Cevenini, 707 A.2d at

771.

       Because Plaintiff’s claims against Dr. Villaruz are barred by the statute of limitations, the

Court should dismiss the claims against Dr. Villaruz.

 II.   Plaintiff’s Fourth Amended Complaint Fails to State a Claim for Substantive Due
       Process Violations and NIED.

       In his Fourth Amended Complaint, Plaintiff alleges four claims against Dr. Villaruz:

“Denial of Due Process of Law-Substantive Due Process Liberty Interest Against Amelia

                                                   6
         Case 1:14-cv-00140-TSC Document 128 Filed 02/26/20 Page 9 of 14




Villaruz-Involuntary Commitment 42 USC Sect. 1983” (Count II); “Denial of Due Process of

Law-Forcible Medication, 42 USC Sect. 1983-Amelia Villaruz” (Count III); Negligent Infliction

of Emotional Distress (Count VI), and Medical Malpractice (Count XIII). With regard to Counts

II, III, and VI, Plaintiff has failed to state a claim upon which relief could be granted.

            A. Substantive Due Process Violations (Counts II and III)

        Plaintiff delineates two separate counts concerning alleged due process violations

pursuant to § 1983, but both appear to be claims that Dr. Villaruz violated Plaintiff’s substantive

due process rights under the Fifth Amendment. Substantive due process claims are limited “to

actions that in their totality are genuinely drastic.” Tri County Industries, Inc. v. District of

Columbia, 104 F.3d 455, 459 (D.C. Cir. 1997). The allegedly unconstitutional behavior must be “so

egregious, so outrageous, that it may fairly be said to shock the contemporary conscience.”

Abdelfattah v. United States, 787 F.3d 524, 540 (D.C. Cir. 2015) (quoting County of Sacramento v.

Lewis, 523 U.S. 833, 847 (1998)). The doctrine of substantive due process is intended to prevent

“only grave unfairness.” George Washington Univ., 318 F.3d at 209. “A plaintiff can show grave

unfairness in two ways[:] . . . (i) ‘a substantial infringement of state law prompted by personal or

group animus,’ or (ii) ‘a deliberate flouting of the law that trammel[ed] significant personal or

property rights.’” Jones v. District of Columbia, 322 F.Supp.3d 78, 84 (D.D.C. 2018) (quoting

George Washington Univ., 318 F.3d at 209).

        In Counts II and III, Plaintiff asserts that Dr. Villaruz violated his substantive due process

rights by allegedly (1) failing to conduct an examination of Plaintiff “that would have met a

prevailing standard for involuntary commitment[,]” and (2) forcibly medicating Plaintiff

“without justification or adherence to any applicable standards[.]” 4th Am. Compl. at ¶¶ 56, 63

[99 at 15, 16]. Plaintiff fails to allege that Dr. Villaruz committed a “substantial infringement of

state law” when she evaluated Plaintiff and forced medication. Nor has Plaintiff alleged that Dr.
                                                    7
           Case 1:14-cv-00140-TSC Document 128 Filed 02/26/20 Page 10 of 14




Villaruz’s actions were “prompted by personal or group animus.” Similarly, Plaintiff has not

alleged facts suggesting that Dr. Villaruz “deliberate[ly] flout[ed] the law” and “trammel[ed]”

Plaintiff’s “personal or property right[s].” Plaintiff’s claims that his due process rights were

violated by Dr. Villaruz’s alleged failure to meet certain “standards” indicates that Plaintiff is

merely alleging negligent conduct, and it is well-established that “[n]egligence or ‘mere lack of

due care’ resulting in deprivation of property does not constitute a due process violation.” CHS

Indus., LLC v. U.S. Customs & Border Prot., 653 F.Supp.2d 50, 56 (D.D.C. 2009) (quoting

Daniels v. Williams, 474 U.S. 327, 330-31 (1986)).

           Because the Fourth Amended Complaint fails to adequately plead a claim for violation of

Plaintiff’s substantive due process rights against Dr. Villaruz, the Court should dismiss Counts II

and III.

              B. NIED (Count VI)

           To establish a claim for NIED, “a plaintiff must show that ‘(1) the plaintiff was in the

zone of physical danger, which was (2) created by the defendant’s negligence, (3) the plaintiff

feared for his own safety, and (4) the emotional distress so caused was serious and verifiable.’”

Harris v. U.S. Dep’t of Veterans Affairs, 776 F.3d 907, 915 (D.C. Cir. 2015) (quoting rice v.

District of Columbia, 774 F.Supp.2d 25, 33 (D.D.C. 2011)).

           Plaintiff predicates his claim for NIED on Dr. Villaruz’s alleged failure to “conduct[] an

adequate examination of Plaintiff.” 4th Am. Compl. at ¶ 82 [99 at 18]. Plaintiff fails to allege

that he suffered physical harm or was in a zone of physical danger as a result of Dr. Villaruz’s

evaluation. NIED “is a cause of action based on physical harm, and although ‘[a] plaintiff need

not show actual physical impact’ to prove that a defendant negligently caused her distress, ‘she

must show that she actually feared for her [physical] safety as a result of [the defendant’s]

conduct.’” Asare v. LM-DC Hotel, LLC, 62 F.Supp.3d 30, 34 (D.D.C. 2014) (quoting Hollis v.
                                                    8
        Case 1:14-cv-00140-TSC Document 128 Filed 02/26/20 Page 11 of 14




Rosa Mexicano DC, LLC, 582 F.Supp.2d 22, 27 (D.D.C. 2008)). Plaintiff has failed to allege

any facts that would suggest that Dr. Villaruz’s evaluation of Plaintiff caused him physical harm

or placed him in a zone of physical danger.

       Because the Fourth Amended Complaint fails to adequately plead a claim for NIED

against Dr. Villaruz, the Court should dismiss Count VI.

III.   Dr. Villaruz is Entitled to Qualified Immunity as to Plaintiff’s Claims of Substantive
       Due Process Violations.

       Even if Plaintiff’s Fourth Amended Complaint stated a claim for violation of Plaintiff’s

substantive due process rights, Dr. Villaruz is entitled to qualified immunity on that claim.

“Qualified immunity gives government officials breathing room to make reasonable but mistaken

judgments about open legal questions.” Ashcroft v. al-Kidd, 131 S. Ct. 2074, 2085 (2011). It is

well-settled that an “official who asserts a qualified immunity defense can only be held liable if

the plaintiff suing him establishes that the official violated a constitutional right that was clearly

established at the time.” Lash v. Lemke, 786 F.3d 1, 5 (D.C. Cir. 2015) (quoting Saucier v. Katz,

533 U.S. 194, 201 (2001)) (internal quotations omitted) (emphasis added). “And a defendant

cannot be said to have violated a clearly established right unless the right’s contours were

sufficiently definite that any reasonable official in the defendant’s shoes would have understood

he was violating it.” Plumhoff v. Rickard, 134 S. Ct. 2012, 2023 (2014) (citing Ashcroft v. al-

Kidd, 563 U.S. 731, 735 (2011)). Thus, “existing precedent must have placed the statutory or

constitutional question confronted by the official beyond debate[,]” al-Kidd, 563 U.S. at 741,

and the U.S. Supreme Court has admonished against defining clearly established law at a high

level of generality because “doing so avoids the crucial question whether the officer acted

reasonably in the particular circumstances that he or she faced.” Plumhoff, 134 S. Ct. at 2023.




                                                   9
           Case 1:14-cv-00140-TSC Document 128 Filed 02/26/20 Page 12 of 14




           To be clear, qualified immunity “protects all but the plainly incompetent or those who

knowingly violate the law.” Messerschmidt v. Millender, 565 U.S. 535, 546 (2014) (internal

citations and quotations omitted). Thus, the “protection of qualified immunity applies regardless

of whether the government official’s error is a mistake of law, a mistake of fact, or a mistake based

on mixed questions of law and fact.” Pearson v. Callahan, 555 U.S. 223, 231 (2009) (citation

omitted).

           “To defeat a defense of qualified immunity, a plaintiff must show not only [1] that an

official ‘violated a constitutional right,’ but [2] also that ‘the right was clearly established’ at the

time of the violation.” Fenwick v. Pudimott, 778 F.3d 133, 137 (D.C. Cir. 2015) (quoting Saucier

v. Katz, 533 U.S. 194, 200-01 (2001)). As detailed in Section II.A supra, Plaintiff fails to meet

even the first prong of showing that Dr. Villaruz violated a constitutional right. However, even

if Plaintiff had properly alleged a violation of a constitutional right, such a right was not clearly

established.

           Because Dr. Villaruz is entitled to qualified immunity, the Court should dismiss Counts II

and III.

                                            CONCLUSION

           WHEREFORE, for the reasons stated above, Mr. Walker respectfully requests that the

Court dismiss Plaintiff’s Fourth Amended Complaint as to Mr. Walker.


DATED: February 26, 2020                 Respectfully submitted

                                                KARL A. RACINE
                                                Attorney General for the District of Columbia

                                                CHAD COPELAND
                                                Deputy Attorney General
                                                Civil Litigation Division

                                                /s/ Michael K. Addo

                                                   10
Case 1:14-cv-00140-TSC Document 128 Filed 02/26/20 Page 13 of 14




                             MICHAEL K. ADDO [1008971]
                             Chief, Civil Litigation Division Section IV

                             /s/ Philip A. Medley
                             PHILIP A. MEDLEY [1010307]
                             Assistant Attorney General
                             441 Fourth Street, N.W., Suite 630 South
                             Washington, D.C. 20001
                             (202) 724-6626
                             (202) 741-5920 (fax)
                             philip.medley@dc.gov

                             Counsel for Defendants David Walker and Amelia
                             Villaruz




                               11
       Case 1:14-cv-00140-TSC Document 128 Filed 02/26/20 Page 14 of 14




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 MELVIN BROWN,

               Plaintiff,

        v.                                           Case No. 1:14-cv-0140 (TSC)

 SANDRA HILL, et al.,

               Defendants.


                                           ORDER

       Upon consideration of Defendant Amelia Villaruz’s Motion to Dismiss Plaintiff’s Fourth

Amended Complaint, any opposition, and the entire record herein, it is this ________day of

_____________ 2020 hereby,

       ORDERED that Defendant Villaruz’s Motion is GRANTED; and it is further

       ORDERED that the Fourth Amended Complaint is DISMISSED as to Defendant

Villaruz.




                             HON. TANYA S. CHUTKAN
                             United States District Court
